           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 1 of 9



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11

12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14

15    MOLLY BROWN, as an individual, on behalf of          Case No. 4:21-cv-06467-HSG
16    herself, the general public and those similarly
      situated,                                            DEFENDANT’S REPLY IN SUPPORT
                                                           OF MOTION TO STAY DISCOVERY
17                                                         PENDING ORDER ON MOTION TO
                    Plaintiff,                             DISMISS; DECLARATION OF SEAN
18                                                         H. SUBER
             v.
19                                                         Judge: Haywood S. Gilliam, Jr.
20    THE J. M. SMUCKER COMPANY,
                                                           Hearing Date:         May 12, 2022
                                                           Time:                 2:00 pm
21                  Defendant.                             Place:                Courtroom 2
22                                                         Complaint Filed: August 20, 2021
23

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          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                           CASE NO. 4:21-CV-06467-HSG
             Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 2 of 9



 1                                              INTRODUCTION
 2            Plaintiff’s opposition misstates the law, distorts the facts, and has no real response to the fact
 3   that good cause exists to stay discovery to protect Defendant from the unnecessary burden and expense
 4   of discovery—especially considering discovery is not even open, and the scope of discovery is entirely
 5   dependent on a pending motion to dismiss. This Court has granted a discovery stay, when, as here,
 6   “both party and judicial resources will be most efficiently used if discovery is stayed until the Court
 7   decides the pending motion to dismiss.” Yamasaki v. Zicam LLC, 2021 WL 3675214, at *2 (N.D. Cal.
 8   Aug. 19, 2021) (Gilliam, J.). It should do so again here because Defendant’s motion to dismiss is more
 9   than potentially dispositive given that two courts have recently dismissed near-identical lawsuits
10   brought by Plaintiff’s counsel on the same theory that Plaintiff is trying to advance here. See Nacarino
11   v. Kashi Company, ECF No. 43, 2022 WL 390815, at *4–5 (N.D. Cal. Feb. 9, 2022); Chong v Kind
12   LLC, ECF 41, 2022 WL 464149, at *4 (N.D. Cal. Feb. 15, 2022). Staying discovery would thus
13   preserve resources.
14            Perhaps recognizing as much, Plaintiff claims that Defendant’s motion is procedurally
15   improper, but that is simply not the case. The parties met and conferred about this issue back in
16   November, and the parties discussed that their agreement was geared toward “pushing everything to
17   the CMC” in March. See Suber Decl., ¶ 3. Thus, Plaintiff cannot cry foul now that Defendant is raising
18   this issue so it can be addressed at the CMC.
19            For these reasons, the Court should grant Defendant’s motion to stay discovery.
20                                                 ARGUMENT
21      I.        Defendant’s motion meets the standard for a discovery stay.
22            As this Court has explained, to obtain a stay, “the moving party must demonstrate that the
23   pending motion is ‘potentially dispositive of the entire case, or at least dispositive on the issue at which
24   discovery is directed.’” Yamasaki, 2021 WL 3675214, at *1 (citation omitted). Defendant has done so.
25            Defendant’s pending motion argues that Plaintiff’s case is preempted, which would be
26   dispositive of the entire case. Indeed, and as explained in Defendant’s Supplemental Brief in Support
27   of the Motion to Dismiss, two recent decisions from this District have addressed the issues at the heart
28   of this case and dismissed the cases as being preempted. See Nacarino, 2022 WL 390815, at *4–5;
                                                    –1–
             DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                              CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 3 of 9



 1   Chong, 2022 WL 464149, at *4. Those decisions are in line with this Court’s ruling on the subject. See
 2   Durnford v. Musclepharm Corp., 2015 WL 9258079, at *3–5 (N.D. Cal. Dec. 18, 2015) (Gilliam, J.)
 3   (“FDA regulations expressly provide that protein content may be calculated solely on the basis of
 4   nitrogen content,” and “Plaintiff seeks to hold Defendant liable for calculating protein content using a
 5   method prescribed by FDA regulations, in violation of the FDCA’s express preemption provision.”).
 6          Plaintiff’s acknowledgement that “preemption [] has the potential . . . to affect the entire case”
 7   (Opp’n at 2), should be the end of the matter because Defendant need not establish that its motion to
 8   dismiss will be successful; it need only demonstrate the motion is “potentially dispositive of the entire
 9   case.” Yamasaki, 2021 WL 3675214, at *1 (emphasis added). To try to avoid this point, Plaintiff writes
10   a lengthy brief addressing the Nacarino decision (while ignoring the Chong decision). But the extent
11   to which Plaintiff attempts to argue that the Nacarino ruling is incorrect (and Plaintiff’s silence about
12   Chong) only underscores Defendant’s point that the pending motion to dismiss is potentially
13   dispositive. Further, Plaintiff argues that Nacarino is of no import because it allegedly does not address
14   Plaintiff’s argument that Section 101.13(i)(3) prohibits any statement about the amount or percentage
15   of protein that is “false or misleading in any respect.” Opp’n at 5. But Nacarino addressed this very
16   issue, concluding that “the regulations foreclose a conclusion that the ‘11g’ figure is misleading as that
17   term has been used by the FDA.” Nacarino, 2022 WL 390815, at *3 (“the general language of section
18   101.13 cannot be interpreted as proclaiming that it is ‘false or misleading’ to use the same statement—
19   ‘11g Protein’—on the front of the box as is authorized in the Nutrition Facts label.”).
20          Further, Defendant has also maintained that Plaintiff’s case fails because the representations
21   on the front of the package are not nutrient content claims under federal law. Under federal law, the
22   statement “6 grams Protein” does not “characterize” the level of protein in the Products as “high” or
23   “low,” “more” or “less,” and is thus not a “nutrient content claim” as federal law defines it. Cf. 21
24   U.S.C. § 343(r)(1)(A) (defining a nutrient content claim as a claim that “characterizes the level of any
25   nutrient”). Plaintiff claims that the “regulations plainly disprove this point.” Opp’n at 6. But this Court
26   has recognized that “[n]utrient content claim requirements only apply where a product label
27   characterizes the level (as opposed to existence) of a nutrient.” Vassigh v. Bai Brands LLC, 2015 WL
28   4238886, at *5 (N.D. Cal. July 13, 2015) (Gilliam, J.). This also demonstrates that Defendant’s motion
                                                     –2–
          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                           CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 4 of 9



 1   is potentially dispositive.
 2             Finally, Plaintiff fails to understand that the motion to dismiss can be either “potentially
 3   dispositive of the entire case, or at least dispositive on the issue at which discovery is directed.”
 4   Yamasaki, 2021 WL 3675214, at *1 (emphasis added). Plaintiff notes that Defendant “asserts 11
 5   defenses in its motion.” Opp’n. 2. But a large number of cases hold that a motion to dismiss can warrant
 6   a stay in discovery even when it would not dispose of the entire case and is only “dispositive on the
 7   issue at which discovery is directed.” Yamasaki, 2021 WL 3675214, at *1. See, e.g., In re Nexus 6P
 8   Prods. Liab. Litig., 2018 WL 3036734, at *1 (N.D. Cal. June 19, 2018) (stay was granted because the
 9   “motion to dismiss could be potentially dispositive of [one set of claims], which in turn would limit
10   the scope of discovery”); Driscoll’s, Inc. v. Cal. Berry Cultivars, LLC, 2019 WL 4822413, at *1 (E.D.
11   Cal. Oct. 1, 2019) (granting stay because of, among other things, the “likelihood that the motion [to
12   dismiss] would significantly narrow the case”); Lloyd v. Rufener, 2018 WL 4353268, at *1 (W.D.
13   Wash. Sept. 12, 2018) (granting stay where defendants argued that “resolution of the motion might
14   narrow the scope of plaintiff’s claims and thus the appropriate scope of discovery”).
15             Here, among other things, Defendant has argued that Plaintiff lacks standing to sue for
16   unpurchased products. Thus, the motion can eliminate the claims for products that Plaintiff did not
17   purchase. And a “pending motion to dismiss, if likely to succeed, raises concerns about the judicial
18   economy of allowing discovery to proceed.” In re: Pre-Filled Propane Tank Antitrust Litig., 2015 WL
19   11022887, at *4 (W.D. Mo. Feb. 24, 2015) (granting discovery stay). The stay should be granted.
20       II.      Defendant will be burdened by the discovery requests, as discovery is not even open.
21             Good cause exists to stay discovery to protect Defendant from the unnecessary burden and
22   expense of discovery when discovery is not even open and the scope of discovery—and whether
23   Plaintiff is entitled to proceed with her claims—is entirely dependent on a pending motion to dismiss.
24   Plaintiff’s overbroad discovery requests will require substantial review. And merely having “to review
25   such a large volume of documents prior to producing them would be a significant burden,” so “this
26   factor also weighs in favor of granting a stay.” In re: Pre-Filled Propane Tank Antitrust Litig., 2015
27   WL 11022887, at *3–4 (citation omitted).
28             Plaintiff claims that Defendant does not need a stay because the parties already agreed to a stay,
                                                         –3–
           DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                            CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 5 of 9



 1   but this hardly tells the full story. As Plaintiff notes, the agreement by the parties is in place only until
 2   the Court “hears argument on the motion to dismiss and takes the motion under submission.” Opp’n at
 3   4. Thus, this issue will be ripe once argument is heard. Indeed, the temporary agreement that the parties
 4   reached so that Plaintiff could get an extension on the motion to dismiss briefing will no longer be in
 5   place once the motion to dismiss is heard. Without a stay, Defendant would have to go through the
 6   unnecessary burden of responding to overbroad discovery requests while the Court resolves the motion
 7   to dismiss that is under submission. That is hardly “fair.” Opp’n at 4.
 8           Plaintiff also fails to note that discovery is not open, as Plaintiff has failed to provide a
 9   discovery plan. To be sure, Plaintiff sought six requests for admission, over 50 requests for production
10   of documents, and hundreds of interrogatories. See Suber Decl., ¶ 4. But given that Plaintiff has yet to
11   comply with Rule 26(f), discovery is not open. See Suber Decl., ¶¶ 3, 7; see also Mouli v. Safety
12   Holdings, Inc., 2021 WL 4494191, at *12 (E.D. Va. Sept. 30, 2021) (granting protective order and
13   finding a 26(f) conference had not occurred when, as here, “the parties have not submitted a discovery
14   plan, nor has the Court entered one”); Tompkins v. Lifeway Christian Res. of the S. Baptist Convention,
15   2017 WL 3052853, at *1 (D.N.M. June 20, 2017) (finding that discovery was premature when there
16   was no “evidence that the parties ha[d] . . . developed jointly a discovery plan that would address the
17   very issue Defendants raise, namely Defendants’ stated desire to have the motions to dismiss ruled on
18   before moving forward”); Hope Med. Grp. for Women v. LeBlanc, 2007 WL 9812847, at *3 (E.D. La.
19   May 8, 2007) (“The Rules require that the parties develop a joint discovery plan at the Rule 26(f)
20   conference and that initial disclosures be made within 14 days of the conference . . . . [N]o Rule 26(f)
21   conference took place because these requirements were not met.”).
22           Thus, granting a stay is the most prudent approach because discovery is not open, there are no
23   deadlines for discovery, there is therefore no prejudice to Plaintiff, and the Court can provide the parties
24   ample time to complete discovery following decision on the motion to dismiss in the unlikely scenario
25   that this case moves forward. See Top Rank, Inc. v. Haymon, 2015 WL 9952887, at *3 (C.D. Cal. Sept.
26   17, 2015) (staying discovery and noting “many of the arguments raised in the motions [to dismiss] are
27   compelling and deserve careful consideration before allowing the parties to proceed with costly and
28   time-consuming discovery”); Smith v. Cty. of Los Angeles, 2012 WL 12965922, at *2 (C.D. Cal. Sept.
                                                    –4–
           DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                            CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 6 of 9



 1   20, 2012) (staying discovery “to avoid costly discovery that may be rendered unnecessary”).
 2      III.      This motion is procedurally proper, and this Court has discretion to hear it anyway.
 3             Finally, Plaintiff’s argument about this motion being procedurally improper is incorrect. A key
 4   fact that Plaintiff omits from her brief is that the parties already discussed this issue back in November
 5   2021. When the parties reached an agreement to postpone the briefing on the motion to dismiss, they
 6   also agreed to postpone this dispute about whether discovery was open and the timing for the response
 7   to Plaintiff’s premature discovery requests. To solidify the agreement, Defendant sent a follow-up
 8   email to Plaintiff, stating that Defendant was “amenable to pushing everything to the CMC,” when the
 9   Court is going to hear the motion to dismiss. See Suber Declaration, ¶ 5. Plaintiff ignores that the
10   agreement reached was “[s]ubject to [Defendant’s] objections and points raised previously
11   (particularly, our position that we still do not believe discovery is open).” Id. Indeed, Plaintiff was
12   advised that “[w]e are happy to work out an agreement . . . until we at least raise this issue with the
13   Court at the CMC.” Id. Thus, with the motion to dismiss hearing forthcoming, Defendant filed this
14   motion—as Defendant told Plaintiff it would do when it discussed pushing everything to the CMC.
15             In any event, even if Plaintiff was correct that there was no meet and confer (and, to be clear,
16   there was), that would not require denial of a motion to stay. Reveal Chat Holdco, 2020 WL 2843369,
17   at *3 (“The Court, however, has the discretion to decide a motion to stay on the merits even if parties
18   fail to meet and confer.”); Brennan v. Cadwell Sanford Deibert & Garry LLP, 2020 WL 5653673, at
19   *2 (D. Nev. Sept. 22, 2020) (“[T]he Court may still ‘exercise its discretion to decide the motion to stay
20   discovery on its merits.’”); Tsatas v. Airborne Wireless Network, Inc., 2021 WL 4951576, at *1 n.1 (D.
21   Nev. Apr. 9, 2021) (declining sanctions for failure to meet and confer). And this Court should certainly
22   exercise its discretion to resolve this motion, seeing that discovery is not open and Plaintiff has failed
23   to show how she is prejudiced by this motion or how she would be prejudiced by a stay.
24                                                CONCLUSION
25             For all these reasons, Defendant respectfully requests that the Court grant this motion to stay
26   discovery pending the resolution of the pending motion to dismiss.
27

28             Dated: February 22, 2022                   WINSTON & STRAWN LLP
                                                        –5–
          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                           CASE NO. 4:21-CV-06467-HSG
     Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 7 of 9



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     DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                      CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 8 of 9



 1                                  DECLARATION OF SEAN H. SUBER
 2          I, Sean H. Suber, declare and state as follows:
 3          1.      I am a lawyer and associate with the firm Winston & Strawn, LLP. I am admitted to
 4   practice law in the State of Illinois and am admitted pro hac vice in the United States District Court
 5   for the Northern District of California. I am acting as legal counsel to Defendant The J.M. Smucker
 6   Company.
 7          2.      As a result of my experience and responsibilities in this litigation, I have personal
 8   knowledge of the facts stated in this declaration, and if called to testify, I could and would testify
 9   competently about the information set forth in this declaration. I am over 18 years of age and competent
10   to give this statement based on my personal knowledge, information, and belief.
11          3.      On November 2, 2021, the parties had a call that Plaintiff contends was a Rule 26(f)
12   conference, but Defendant disputes the call consisted of a Rule 26(f) conference because Plaintiff
13   repeatedly refused to propose a discovery plan. See Ex. A at 2–4, Email Chain Re Discovery with All
14   Counsel. Defendant asked for a proposed discovery plan several times, to no avail. Ibid.
15          4.      The same day, immediately after the call, and disregarding Defendant’s request for a
16   discovery plan, Plaintiff propounded six requests for admission, over 50 requests for production of
17   documents, and hundreds of interrogatories seeking information about countless products that Plaintiff
18   never even purchased. See Ex. C, Email with Proposed Discovery.
19          5.      Thereafter, I had a series of phone and email conversations with Plaintiff’s counsel in
20   which I indicated that Defendant would be re-addressing the issue of a motion to stay closer to the
21   hearing date if there had not been a ruling. To secure the agreement for the Plaintiff’s extension of the
22   motion-to-dismiss briefing, I specifically noted that our team had agreed that we were “amenable to
23   pushing everything to the CMC” and that we would confirm once Plaintiff sent us options. See Ex. B
24   at 1, Email Chain re Discovery with H. Reynolds. Indeed, we had specifically told Plaintiff’s counsel
25   that “[w]e are happy to work out an agreement . . . until we at least raise this issue with he Court at the
26   CMC.” Ex. A at 2.
27          6.      Once the parties agreed to address discovery at a later date, that agreement was
28   expressly conditioned on Defendant’s “objections and points raised previously,” which necessarily
                                                   –7–
          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                           CASE NO. 4:21-CV-06467-HSG
           Case 4:21-cv-06467-HSG Document 40 Filed 02/22/22 Page 9 of 9



 1   included the fact that we would push everything to the CMC, given “our position that we still d[id] not

 2   believe discovery is open.” Ex. A, at 2.

 3          7.      To this date, Plaintiff has still yet to provide Defendant with a discovery plan.

 4          I declare under penalty of perjury under the laws of the State of California and the United

 5   States of America that the foregoing is true and correct.

 6          Executed on February 22, 2022 in Chicago, Illinois.

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 8                                                       Sean Suber
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          DEFENDANT’S REPLY IN SUPPORT OF MOTION TO STAY DISCOVERY PENDING ORDER ON MOTION TO DISMISS
                                           CASE NO. 4:21-CV-06467-HSG
